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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                         Chapter 11

         ZOHAR III, CORP., et al.,1                                     Case No. 18-10512 (KBO)

                            Debtors.                                    Jointly Administered


         ZOHAR CDO 2003-1, LIMITED; ZOHAR II
         2005-1, LIMITED; and ZOHAR III,
         LIMITED,                                                       Adv. Pro. No. 20-50534

                            Plaintiffs,

                            v.

         PATRIARCH PARTNERS, LLC;
         PATRIARCH PARTNERS VIII, LLC;
         PATRIARCH PARTNERS XIV, LLC;
         PATRIARCH PARTNERS XV, LLC;
         PHOENIX VIII, LLC; OCTALUNA LLC;
         OCTALUNA II LLC; OCTALUNA III LLC;
         ARK II CLO 2001-1, LLC; ARK
         INVESTMENT PARTNERS II, LP; ARK
         ANGELS VII, LLC; PATRIARCH
         PARTNERS MANAGEMENT GROUP, LLC;
         PATRIARCH PARTNERS AGENCY
         SERVICES, LLC; and LYNN TILTON,

                            Defendants.


                     NOTICE OF AMENDED AGENDA2 OF MATTERS SCHEDULED FOR
                     TELEPHONIC HEARING ON OCTOBER 29, 2020 AT 9:30 A.M. (ET)3

         ADJOURNED MATTER




         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc., New York, NY 10036.
         2
             All amendments appear in bold.
         3
             All parties wishing to participate should make arrangements through CourtCall at 1-866-582-6878.

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             1.   Patriarch’s Motion for Entry of an Order (A) Enforcing and Implementing the Terms of
                  the Settlement Agreement and (B) Granting Related Relief [(SEALED) D.I. 1903;
                  8/31/20; (REDACTED) D.I. 1912; 9/3/20]

                  Related Documents:

                  A.        Order Authorizing Filing of Motion Under Seal [D.I. 2004; 10/13/20]

                  Response Deadline:                     October 5, 2020 at 4:00 p.m. (ET) with respect to
                                                         the requested non-PPAS relief; November 5, 2020
                                                         at 4:00 p.m. (ET) with respect to the requested
                                                         PPAS relief

                  Reply Deadline:                        October 8, 2020 at 4:00 p.m. with respect to
                                                         requested non-PPAS relief; November 10, 2020 at
                                                         12:00 p.m. (ET) with respect to the requested PPAS
                                                         relief
                  Responses Received:

                  B.        Debtors’ Objection to Patriarch’s Motion for Entry of an Order (A) Enforcing and
                            Implementing the Terms of the Settlement Agreement and (B) Granting Related
                            Relief [(SEALED) D.I. 1979; 8/31/20; (REDACTED) D.I. TBD; TBD]

                  C.        Patriarch’s Reply in Support of Its Patriarch’s Motion for Entry of an Order (A)
                            Enforcing and Implementing the Terms of the Settlement Agreement and (B)
                            Granting Related Relief [(SEALED) D.I. 1982; 10/8/20; (REDACTED) D.I.
                            TBD; TBD]

                  Status:          This matter is adjourned to November 12, 2020 at 10:00 a.m. (ET) with
                                   respect to the requested PPAS relief and, at the direction of the Court,
                                   adjourned to a date and time to be determined with respect to the
                                   requested non-PPAS relief.

         MATTERS GOING FORWARD

             2.   Motion of Certain Portfolio Companies of the Debtors’ for an Order Staying Litigation
                  Against the Portfolio Companies Under 11 U.S.C. § 105 and 11 U.S.C. § 362
                  [(SEALED) D.I. 1928; 9/9/20; (REDACTED) D.I. 1939; 9/14/20]

                  Related Documents:

                  A.        Declaration of Sean H. McMahon in Support of the Motion of Certain Portfolio
                            Companies of the Debtors’ for an Order Staying Litigation Against the Portfolio
                            Companies Under 11 U.S.C. § 105 and 11 U.S.C. § 362 [D.I. 1929; 9/9/20]

                  B.        Motion of Certain Portfolio Companies of the Debtors to File Under Seal the
                            Motion of Certain Portfolio Companies of the Debtors’ for an Order Staying


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                            Litigation Against the Portfolio Companies Under 11 U.S.C. § 105 and 11 U.S.C.
                            § 362 [D.I. 1940; 9/14/20]

                  C.        Notice of Motion [D.I. 1941; 9/15/20]

                  D.        Declaration of Jennifer X. Luo in Support of The Patriarch Stakeholders’
                            Objection to the Motion of Certain Portfolio Companies of the Debtors’ for an
                            Order Staying Litigation Against the Portfolio Companies Under 11 U.S.C. § 105
                            and 11 U.S.C. § 362 [(SEALED) D.I. 1974; 9/30/20; (REDACTED) D.I. TBD;
                            TBD]

                  E.        Order Granting Certain Portfolio Companies of the Debtors’ to File Under Seal
                            the Motion of Certain Portfolio Companies of the Debtors for an Order Staying
                            Litigation Against the Portfolio Companies Under 11 U.S.C. § 105 and 11 U.S.C.
                            § 362 [D.I. 1977; 10/5/20]

                  F.        Motion of Certain Portfolio Companies of the Debtors to File Under Seal the
                            Reply of Certain Portfolio Companies of the Debtors in Support of their Motion
                            for an Order Staying Litigation Against the Portfolio Companies Under 11 U.S.C.
                            § 105 and 11 U.S.C. § 362 [D.I. 2009; 10/13/20]

                  Response Deadline:                     September 30, 2020 at 4:00 p.m. (ET)

                  Responses Received:

                  G.        Debtors’ Joinder to Motion of Certain Portfolio Companies of the Debtors’ for an
                            Order Staying Litigation Against the Portfolio Companies Under 11 U.S.C. § 105
                            and 11 U.S.C. § 362 [D.I. 1949; 9/17/20]

                  H.        The Patriarch Stakeholders’ Objection to the Motion of Certain Portfolio
                            Companies of the Debtors’ for an Order Staying Litigation Against the Portfolio
                            Companies Under 11 U.S.C. § 105 and 11 U.S.C. § 362 [(SEALED) D.I. 1973;
                            9/30/20; (REDACTED) D.I. TBD; TBD]

                  I.        Reply of Certain Portfolio Companies of the Debtors in Support of their Motion
                            for an Order Staying Litigation Against the Portfolio Companies Under 11 U.S.C.
                            § 105 and 11 U.S.C. § 362 [(SEALED) D.I. 1987; 10/8/20; (REDACTED) D.I.
                            2008; 10/13/20]

                  Status:          This matter is going forward with oral argument.

             3.   Status Conference for Adversary Case No. 20-50534

                  Related Documents:

                  A.        Complaint [(SEALED) Adv. Case No. 20-50534 D.I. 1/2; 3/9/20]



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                  B.        Summons and Notice of Pretrial Conference in an Adversary Proceeding [Adv.
                            Case No. 20-50534 D.I. 3; 3/9/20]

                  C.        Order Authorizing Filing of the Complaint Under Seal [Adv. Case No. 20-50534
                            D.I. 11; 4/1/20]

                  D.        Order Approving Stipulation Extending Deadlines to Answer or Respond to
                            Complaints [Adv. Case No. 20-50534 D.I. 13; 4/9/20]

                  E.        Order Regarding Defendants’ Motion to Extend Time to Answer or Otherwise
                            Respond to the Complaint [Adv. Case No. 20-50534 D.I. 34; 7/23/20]

                  F.        Order Approving Stipulation for Extension of Time [Adv. Case No. 20-50534
                            D.I. 37; 8/21/20]

                  G.        Order Approving Stipulation for Extension of Time [Adv. Case No. 20-50534
                            D.I. 42; 9/17/20]

                  H.        Declaration of Theresa Trzaskoma in Support of Defendants’ Motion to Dismiss
                            the Complaint [(SEALED) Adv. Case No. 20-50534 D.I. 45; 9/21/20]

                  I.        Defendants’ Motion for an Order Authorizing Defendants to Exceed Page
                            Limitation on Brief in Support of Motion to Dismiss [Adv. Case No. 20-50534
                            D.I. 46; 9/21/20]

                  J.        Defendants’ Motion for Entry of an Order Authorizing the Filing of Defendants’
                            Brief in Support of the Motion to Dismiss and Related Declaration Under Seal
                            [Adv. Case No. 20-50534 D.I. 47; 9/25/20]

                  Response Deadline:                    September 21, 2020 at 4:00 p.m. (ET)

                  Responses Received:

                  K.        Defendants’ Motion to Dismiss the Complaint [Adv. Case No. 20-50534 D.I. 43;
                            9/21/20]

                  L.        Brief in Support of Defendants’ Motion to Dismiss the Complaint [(SEALED)
                            Adv. Case No. 20-50534 D.I. 44; 9/21/20]

                  Status:          The Debtors wish to address the Court regarding scheduling of the subject
                                   adversary proceeding.

         ADDITIONAL MATTER

             4.   Motion of Certain Portfolio Companies of the Debtors to File Under Seal the Reply
                  of Certain Portfolio Companies of the Debtors in Support of their Motion for an
                  Order Staying Litigation Against the Portfolio Companies Under 11 U.S.C. § 105
                  and 11 U.S.C. § 362 [D.I. 2009; 10/13/20]

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               Related Documents:

               A.     Reply of Certain Portfolio Companies of the Debtors in Support of their
                      Motion for an Order Staying Litigation Against the Portfolio Companies
                      Under 11 U.S.C. § 105 and 11 U.S.C. § 362 [(SEALED) D.I. 1987; 10/8/20;
                      (REDACTED) D.I. 2008; 10/13/20]

               Response Deadline:                October 19, 2020 at 10:00 a.m. (ET)

               Responses Received:               None

               Status:      This matter is going forward.


         Dated: October 27, 2020          YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                          /s/ Shane M. Reil
                                          James L. Patton, Jr. (No. 2202)
                                          Robert S. Brady (No. 2847)
                                          Michael R. Nestor (No. 3526)
                                          Joseph M. Barry (No. 4221)
                                          Ryan M. Bartley (No. 4985)
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                                          Counsel to the Debtors and Debtors in Possession




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